Dale D. Ulrich
1934 E Camelback Rd Ste 120-615
Phoenix, AZ 85003


                         IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF ARIZONA

In re:                                                 In Proceedings Under Chapter 7

ANDREW LEE KELLOGG and SARAH                           Case No. 2:18-bk-14707-BKM
ELIZABETH LITTLE,
                                                       NOTICE TO CREDITORS AND
Debtor(s).                                             INTERESTED PARTIES OF SALE AT
                                                       AUCTION

         NOTICE TO CREDITORS AND INTERESTED PARTIES OF SALE AT AUCTION

NOTICE IS HEREBY GIVEN that property belonging to the estate of the above-named debtor will be sold at
public auction on June 6, 2019 at the hour of 1:00pm at 6520 N. 27th Ave., Phoenix, AZ, by Cunningham &
Associates, Inc., Auctioneer. Said auctioneer will be entitled to fees and costs subject to further Order of the
Court.

PROPERTY TO BE SOLD: Sandoval County, NM Parcel Number: 1-005-074-246-403

TERMS AND CONDITIONS OF SALE: Online bidding will open on or before 4:00pm on Friday, May 31,
2019. Bidders will be able to place bids in person, by fax, by email, via telephone or through the online
bidding system at CunninghamAuctions.com. Bidding will start to close at 1:00pm on Wednesday, June 6,
2019 during an online auction. A $200.00 bidder deposit is required. The deposit can be made in person by
cashier’s check or cash.

Any person opposing the application shall file a written objection on or before 21 days from the mailing of
this Notice, with the Clerk, U. S. Bankruptcy Court, (hand delivered to) US BANKRUPTCY COURT,
CLERK, 230 N. FIRST AVE., STE 101, PHOENIX, AZ 85003 (or mailed to) Clerk, U.S. Bankruptcy Court,
US BANKRUPTCY COURT, CLERK, 230 N. FIRST AVE., STE 101, PHOENIX, AZ 85003, with a copy
served on the U.S. Trustee, (hand delivered to) 230 First Avenue, Suite 204, Phoenix, AZ 85003-1706. A
copy of the objection shall be forthwith mailed to the trustee at the following address: 1934 E Camelback Rd
Ste 120-615, Phoenix, AZ 85003

If a person timely objects in writing and requests a hearing, the matter will be placed on the calendar to be
heard by the United States Bankruptcy Judge. If there are no timely objections and/or requests for hearing, no
hearing will be held and the auctioneer may proceed to sell the property without further order of the Court.


May 7, 2019                                      By:             /S/DALE D. ULRICH
DATE                                                   DALE D. ULRICH, TRUSTEE




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